Case: 5:07-cr-00661-CAB Doc #: 48 Filed: 04/08/08 1 of 2. PageID #: 142




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



UNITED STATES OF AMERICA                         )    CASE NO. 5:07CR661-008
                                                 )
       Plaintiff,                                )   JUDGE CHRISTOPHER A. BOYKO
                                                 )
               v.                                )   MAGISTRATE JUDGE VECCHIARELLI
                                                 )
JACK WILLIAMS, et al.,                           )
                                                 )
       Defendant.                                )   ORDER


       On February 13, 2008, the Defendant appeared before the Honorable David S. Perleman,

United States Magistrate Judge, for Arraignment and entered a not guilty plea to Counts 1 and 9

of an indictment filed on December 19, 2007.

       The Defendant was released on a $25,000 unsecured bond, subject to Pretrial Services

“B” Supervision with standard and special conditions of release:

       •       travel restricted to the Northern District of Ohio, Southern District of Texas, and

               the State of Florida;

       •       refrain from possessing a firearm, destructive device or dangerous weapon;

       •        substance abuse testing and/or treatment as deemed necessary by Pretrial

               Services;
Case: 5:07-cr-00661-CAB Doc #: 48 Filed: 04/08/08 2 of 2. PageID #: 143




       •         no contact with victim/witness; and no contact with co-defendants except for

                 work purposes.

       The Defendant reported prior mental health treatment, although a mental health treatment

condition of bond was not ordered. Defendant is currently supervised by the Pretrial Offices in

the Southern District of Texas, Houston office.

       On April 7, 2008, Pretrial Services Officer, Julie Gray, was notified by Pretrial Services

Officer, Scott Cooper, that the Defendant admitted himself into a local hospital for mental health

treatment.

       Pretrial Services , in a memorandum dated April 7, 2008, requests the Court amend

Defendant’s conditions of bond to include mental health treatment.

       The Court amends the “Order Setting Conditions of Release,” (ECF Doc. No. 10), to

include Psychiatric/Mental Health evaluation, treatment, and /or counseling as directed by

Pretrial Services. Defendant shall take all medications as prescribed.

           IT IS SO ORDERED.



                                        s/Christopher A. Boyko
                                        CHRISTOPHER A. BOYKO
                                        United States District Judge


 April 8, 2008
